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                                    LIST OF EXHIBITS

Exhibit A   Glidewell Declaration

Exhibit B   Rosenthal Declaration

Exhibit C   Colvin deposition transcript

Exhibit D   Thomason deposition transcript

Exhibit E   MJ Dean's Anti-Harassment/ Discrimination Policy

Exhibit F   Code of Safe Practices & Anti-Drug and Harassment Policies

Exhibit G   Office Policy Manual

Exhibit H   Internal Complaint

Exhibit I   Rosequist deposition transcript

Exhibit J   Other witness statements

Exhibit K   Gutierrez deposition transcript

Exhibit L   April 1, 2020 letter from MSG

Exhibit M   Termination Notice.dated April 6, 2020
